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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
DARREN J. SENECAL,                  )
                                    )
      Plaintiff,                    )
                                    )
v.                                  )                 C.A. No. 4:20-cv-40011
                                    )
MOUNT WACHUSETT COMMUNITY )
COLLEGE,                            )
                                    )
      Defendant.                    )
____________________________________)

                                STIPULATION OF DISMISSAL

       Now come the parties, plaintiff Darren Senecal and defendant Mount Wachusett

Community College, by and through their counsel, and, pursuant to Fed. R. Civ. P.

41(a)(1)(A)((ii), hereby stipulate that all claims asserted in this action be dismissed with

prejudice and without interest, costs or attorneys’ fees.

       All rights of appeal are hereby waived.




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 Respectfully submitted,


Plaintiff DARREN SENECAL         Defendant MOUNT WACHUSETT
                                 COMMUNITY COLLEGE
By his Attorney
                                 By its Attorneys,
/s/ Michael Sheridan
Michael Sheridan, Esq.           MAURA HEALEY
181 Daniel Shays Highway         ATTORNEY GENERAL
Orange, MA 01364
(978) 633-4032                   /s/ Katherine B. Dirks
m.p.sheridan@verizon.net         Katherine B. Dirks, BBO# 673674
                                 Assistant Attorney General
Date: December 2, 2021           Government Bureau/Trial Division
                                 One Ashburton Place, Room 1813
                                 Boston, MA 02108
                                 (617) 963-2277
                                 katherine.dirks@mass.gov

                                 Date: December 2, 2021




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                                CERTIFICATE OF SERVICE

        I, Michael Sheridan, Counsel for Plaintiff, hereby certify that I have this day, December
2, 2021, served the foregoing document upon all parties by electronically filing to all ECF
registered parties and by sending a postage prepaid copy to all unregistered parties.

                                             /s/ Michael Sheridan
                                             Michael Sheridan, BBO# 665196




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